                                               United States Bankruptcy Court
                                               Middle District of Tennessee
In re:                                                                                                     Case No. 20-03559-MFH
JAMES WHITFIELD LIVINGSTON                                                                                 Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0650-3                  User: jmw0113                      Page 1 of 1                          Date Rcvd: Jul 31, 2020
                                      Form ID: 309I                      Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 02, 2020.
db             +JAMES WHITFIELD LIVINGSTON,     PO BOX 91047,   Nashville, TN 37209-9047
7182251         AMERICAN EXPRESS,    1201 KINGSVIEW CIRCLE SE,    Smyrna GA 30080
7182253        +BEST BUY,    7601 PENNE AVENUE,    Minneapolis MN 55423-3683
7182254         Cassie Burton,    c/o Sherwood Litigation,    201 4th Ave N S 1130,    Nashville TN 37219
7182255        +FARM CREDIT MID AMERICA,    5015 SOUTH 118TH STREET,    Omaha NE 68137-2210
7182256        +FIRST HERITAGE CREDIT,    122 SOUTH HARTMANN DRIVE,    SUITE A,    Lebanon TN 37087
7182711        +First Heritage Credit,    1221 S Hartmann Dr Ste A,    Lebanon, TN 37090-4109
7182257        +Lauren Lowe,    3811 Woodmont Ln,    Nashville TN 37215-1715
7182258        +Milessa Thomas,    c/o Christopher Boiano Esq.,    115 Shivel Dr.,    Hendersonville TN 37075-3536
7182260        +TN CHILD SUPPORT,    DEPT OF HUMAN SERVICES,    400 DEADERICK ST 14TH FLOOR,
                 NASHVILLE TN 37243-1403

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: slefkovitz@lefkovitz.com Aug 01 2020 03:11:52      LEFKOVITZ AND LEFKOVITZ, PLLC,
                 618 CHURCH ST STE 410,   NASHVILLE, TN 37219
tr              E-mail/Text: HHecf@ch13nsh.com Aug 01 2020 03:12:42      HENRY EDWARD HILDEBRAND, III,
                 OFFICE OF THE CHAPTER 13 TRUSTEE,   PO BOX 340019,    NASHVILLE, TN 37203-0019
7182252        +E-mail/Text: bankruptcy@bbandt.com Aug 01 2020 03:12:12      BB&T BANKRUPTCY SECTION,
                 100-50-01-51,   PO BOX 1847,   WILSON NC 27894-1847
7182259        +EDI: RMSC.COM Aug 01 2020 07:03:00     SYNCHRONY BANK,    PO BOX 530960,   Atlanta GA 30353-0960
                                                                                             TOTAL: 4

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 02, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 30, 2020 at the address(es) listed below:
              HENRY EDWARD HILDEBRAND, III   hhecf@ch13nsh.com
              LEFKOVITZ AND LEFKOVITZ, PLLC   on behalf of Debtor JAMES WHITFIELD LIVINGSTON
               slefkovitz@lefkovitz.com,
               stevelefkovitz@aol.com;sllbkecf@gmail.com;khancock@lefkovitz.com;lefkovitzcvlecf@lefkovitz.com;r5
               2946@notify.bestcase.com;mspezia@lefkovitz.com
              US TRUSTEE   ustpregion08.na.ecf@usdoj.gov
                                                                                             TOTAL: 3




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Information to identify the case:
Debtor 1                 JAMES WHITFIELD LIVINGSTON                                              Social Security number or ITIN    xxx−xx−2895

                         First Name   Middle Name   Last Name                                    EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                 EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        MIDDLE DISTRICT OF TENNESSEE
                                                                                                 Date case filed for chapter 13 7/29/20
Case number:          3:20−bk−03559



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         JAMES WHITFIELD LIVINGSTON

2. All other names used in the
   last 8 years
                                              PO BOX 91047
3. Address                                    Nashville, TN 37209
                                              LEFKOVITZ AND LEFKOVITZ, PLLC                                 Contact phone: 615 256−8300
4. Debtor's  attorney
   Name and address
                                              618 CHURCH ST STE 410
                                              NASHVILLE, TN 37219                                           Email: slefkovitz@lefkovitz.com

5. Bankruptcy trustee                         HENRY EDWARD HILDEBRAND III                                   Contact phone: 615 244−1101
     Name and address                         OFFICE OF THE CHAPTER 13 TRUSTEE                              Email: None
                                              PO BOX 340019
                                              NASHVILLE, TN 37203−0019

6. Bankruptcy clerk's office                  701 Broadway Room 170                                         Hours open: 8:00AM−4:00PM Monday−Friday
     Documents in this case may be filed      Nashville, TN 37203                                           Contact phone: 615−736−5584
     at this address.                                                                                       Date: 7/31/20
     You may inspect all records filed in
     this case at this office or online at
      www.pacer.gov.
                                                                                                                  For more information, see page 2




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Debtor JAMES WHITFIELD LIVINGSTON                                                                                                  Case number 3:20−bk−03559

7. Meeting of creditors
    Debtors must attend the meeting to     September 15, 2020 at 08:30 AM                                    Location:
    be questioned under oath. In a joint                                                                     Customs House, 701 Broadway, Room 100,
    case, both spouses must attend.                                                                          Nashville, TN 37203
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.

                                                    *** Valid photo identification required ***
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 11/16/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 10/7/20
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 1/25/21
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          If the debtor has filed a plan, it is enclosed. Any written objection must be filed at least 5 calendar days before
                                           the meeting of creditors. An oral objection may be raised at the meeting of creditors. If a timely objection is
                                           made, the confirmation hearing will be held on: 10/14/20 at 08:30 AM ,
                                           Location: Courtroom 1, 2nd Floor Customs House, 701 Broadway, Nashville, TN 37203 .
                                           If no timely objection is made, the plan may be confirmed as unopposed.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                           a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                           under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                           debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                           discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                           bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                           of any of their debts under 11 U.S.C. § 1328(f), you must file a motion by the deadline.




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